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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION


VOIP-PAL.COM, INC.,                  §
            Plaintiff,               §
                                     §             6:20-CV-00267-ADA
v.                                   §
                                     §
FACEBOOK, INC., WHATSAPP,            §
INC.,                                §
            Defendants.              §



VOIP-PAL.COM, INC.,                  §
            Plaintiff,               §
                                     §             6:20-CV-00269-ADA
v.                                   §
                                     §
GOOGLE LLC,                          §
              Defendant.             §
                                     §


VOIP-PAL.COM, INC.,                  §
            Plaintiff,               §             6:20-CV-00272-ADA
                                     §
v.                                   §
                                     §
AMAZON.COM, INC.,                    §
AMAZON.COM SERVICES, LLC,            §
AMAZON WEB SERVICES, INC.,           §
           Defendants.               §


VOIP-PAL.COM, INC.,                  §
            Plaintiff,               §
                                     §             6:20-CV-00275-ADA
v.                                   §
                                     §
APPLE INC.,                          §
              Defendant.             §
                                     §
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VOIP-PAL.COM, INC.,                               §
            Plaintiff,                            §                   6:20-CV-00325-ADA
                                                  §
v.                                                §
                                                  §
AT&T CORPORATION, AT&T                            §
SERVICES, INC., AT&T MOBILITY,                    §
LLC,                                              §
              Defendants.


VOIP-PAL.COM, INC.,                               §
            Plaintiff,                            §
                                                  §                   6:20-CV-00327-ADA
v.                                                §
                                                  §
VERIZON COMMUNICATIONS, INC.,                     §
CELLCO PARTNERSHIP D/B/A                          §
VERIZON WIRELESS, VERIZON                         §
SERVICES CORP., VERIZON                           §
BUSINESS NETWORK SERVICES,                        §
INC.,                                             §
            Defendants.                           §



                                   ORDER STAYING CASES

       The above-entitled and numbered cases are stayed until the Northern District of

California enters an order on the pending motions to dismiss in each of the following cases:

       •    Twitter, Inc. v. Voip-Pal.com, Inc. (5:20-cv-02397)
       •    Apple Inc v. Voip-Pal.com, Inc. (5:20-cv-02460)
       •    AT&T Corp. et al v. VoIP-Pal.com, Inc. (5:20-cv-02995)
       •    Cellco Partnership d/b/a Verizon Wireless v. VoIP-Pal.com, Inc. (5:20-cv-03092)

Plaintiff is directed to inform this Court within seven days of the entry of the last order.

SIGNED this 29th day of September, 2020.




                                       ALAN D ALBRIGHT
                                       UNITED STATES DISTRICT JUDGE
